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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

WILLIAM CECIL,

                PLAINTIFF
v.
                                                   CIVIL ACTION NO. 3:16-CV-00605-
CAPITAL ONE BANK (USA) N.A.                        CRS-DW

                DEFENDANT.

                              AGREED PROTECTIVE ORDER

       The parties to this Agreed Protective Order have agreed to the terms of this

Order; accordingly, it is ORDERED:

       To the extent that Capital One produces documents or account records in this

litigation pertaining to non-party Capital One customers, whether said production is

made in response to a discovery request, subpoena, or Court order in this action, or

informally in furtherance of settlement negotiations, such production is deemed by the

Court to fall within the exception set forth in the Gramm-Leach-Bliley Act, 15 U.S.C. §

6802(e)(8).

       So Ordered.

Dated: March
        March 13,__,
                  20172017



                                         ______________________________________
                                         United States District Court
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Agreed to by:


s/ Katrina L. Miller                      s/ Shaughn C. Hill_______________________
Katrina L. Miller                         Shaughn C. Hill
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